     Case 1:17-cv-00331-JTN-ESC ECF No. 40 filed 03/11/18 PageID.150 Page 1 of 3



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 2
                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
 3
 4   CLEON BROWN,                                   Case No. 17-cv-00331
         Plaintiff                                  Hon. Janet T. Neff
 5
 6   v.
 7
     CITY OF HASTINGS, et al
 8        Defendants
     ________________________________________________________________/
 9
                 PLAINTIFF’S RESPONSE TO DEFENDANTS’
10       SECOND RENEWED PRE-MOTION CONFERENCE REQUEST
11
           Defendants argue Counts I and II must fail as plaintiff’s allegations do not
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13   demonstrate he is substantially limited in a major life activity. Defendants cite Nelly
14   v. Benchmark Family Services, 640 F. App’x 429 (6th Cir. 2016) in support of their
15
     position. Nelly is distinguishable in that the plaintiff had not been diagnosed with a
16
17   disease associated with sleep disturbances. In this case, plaintiff has been diagnosed
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     with a disease (gastroesophageal reflux disease, “GERD” and Barrett’s esophagus,
19
20
     which is a complication of GERD)(ECF No. 30, ¶¶ 80-81) and sleeping upright at

21   home is the accommodation (Id. ¶¶ 82-83, 100, 115), not the alleged disability.
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           Defendants argue Count III must fail as the DNA test the plaintiff used is not
23
24   within the “scope of protection intended by GINA”. In the employment context,
25   GINA has two prohibitive components: prohibition against discrimination based on
26
     genetic information (42 USCS §2000ff-1(a)) and prohibition against gathering of
27
28   genetic information with respect to employees (42 USCS §2000ff-1(b)).
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     Case 1:17-cv-00331-JTN-ESC ECF No. 40 filed 03/11/18 PageID.151 Page 2 of 3



 1         GINA prohibits employment discrimination based on genetic information.
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     The statutory definition of “genetic information” includes “an individual’s genetic
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 4   tests”. 42 USCS §2000ff(4)(A). A “genetic test” is defined as “an analysis of human
 5   DNA, RNA, chromosomes, proteins, or metabolites that detects genotypes,
 6
     mutations, or chromosomal changes”. 42 USCS §2000ff(7)(A). Genotype is the
 7
 8   genetic makeup of a cell, the inherited map carried within one’s genetic code.
 9
     Genotype determines certain characteristics, such as the petal color in a pea plant.
10
11
     Observable outward characteristic determined by genotypes are called phenotypes.

12         In this case, Defendants demoted and discriminated against plaintiff because
13
     of genetic information uncovered as a result of a DNA analysis (Id. ¶¶127-128). One
14
15   of the things Defendants apparently found especially funny is the fact that Plaintiff
16   has the outward appearance of a Caucasion (phenotype) but the genetic mapping of
17
     someone who is 18-33% Sub-Saharan African (genotype). Even in their pre-motion
18
19   conference requests, Defendants repeatedly argue: “Plaintiff has always held himself
20
     out to be white and defendants have always assumed him to be white” (ECF 33, p.2).
21
22   Indeed, it is the assumption that was dispelled by DNA analysis that, in part,
23   prompted Defendants’ actionable conduct alleged in the pleadings. In other words,
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     everything was fine at work until Defendants discovered Plaintiff was not “pure”
25
26   white. Defendants are also liable under GINA for failing to train and implement
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     policies and procedures to protect against GINA violations (Id. ¶129)
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     Case 1:17-cv-00331-JTN-ESC ECF No. 40 filed 03/11/18 PageID.152 Page 3 of 3



 1         Defendants argue Counts IV and V must fail because plaintiff is not a member
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     of a protected class. Title VII's prohibition of race-based discrimination protects
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 4   white employees as well as minority employees. McDonald v. Santa Fe Trail
 5   Transp. Co., 427 U.S. 273 (1976). In this case, the plaintiff was targeted because his
 6
     race/national origin is 82-67% European (i.e., “white”) and 18-33% Sub-Saharan
 7
 8   African (ECF 30, ¶ 3) and because he opposed practices and filed with the EEOC.
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           Defendants argue Count VI must fail because, other than the demotion, none
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11
     of the allegations allege an adverse employment action. Demotion is an adverse

12   employment action, so are suspensions without pay (Id. ¶ 77bb). Adverse actions
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     include stripping a police officer’s discretionary authority while on patrol, which also
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15   has happened to plaintiff. Finally, Plaintiff was suspended a third time, without cause
16   and without due process. However, upon information and belief, the City’s new City
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     Mayor found out about the suspension and ordered Plaintiff returned to duty with
18
19   full back pay and Defendant Pratt suspended for two weeks without pay.
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           Defendants argue Count VII must fail because they fail to make out a claim
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22   for extreme or outrageous conduct. In this case, it is a question of fact for the jury.
23                                     Respectfully submitted,
24                                     /s/ Karie H. Boylan
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